               Case 2:09-cr-00125-WBS Document 226 Filed 02/18/11 Page 1 of 1


 1   LAW OFFICES OF JOSEPH SHEMARIA
 2   Joseph Shemaria, Esq., State Bar No. 47311
     1801 Century Park East, Suite 2400
 3   Los Angeles, California 90067
 4
     Telephone: (310) 278-2660

 5
     Attorneys for Defendant
     SARTAJ CHAHAL
 6

 7

 8
                                         UNITED STATES DISTRICT COURT
 9
                                       EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,
12                                           )                   No.: CR S-09-0125 FCD
            Plaintiff,                       )
13
                                             )                   ORDER CONTINUING
14                                           )                   STATUS CONFERENCE FROM
           v.                                )                   FEBRUARY 28, 2011 TO MARCH 28, 2011
15
                                             )
16                                           )
     SARTAJ CHAHAL, et. al.,                 )
17                                           )
18                     Defendants.           )
     _______________________________________ )
19
      GOOD CAUSE APPEARING,
20

21
         IT IS HEREBY ORDERED that the sentencing date in the above-captioned case is hereby

22   continued from February 28, 2011 to March 28, 2011 at 10:00 a.m.
23

24   Dated: February 18, 2011
25
                                                            _______________________________________
26                                                          FRANK C. DAMRELL, JR.
27                                                          UNITED STATES DISTRICT JUDGE

28



                                                              -1-

     United States of America v. Sartaj Chahal
     Ex Parte Application To Continue Sentencing Hearing;
     Case No. CR-09-0125-FCD
